            Case 4:18-cv-00351-JM Document 11 Filed 09/06/18 Page 1 of 3



                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

FRANCES BLOHM                                                                           PLAINTIFF

V.                                   No. 4:18-CV-351-JM

DIRT CHEAP ARKANSAS, LLC                                                            DEFENDANT

                           ANSWER OF DIRT CHEAP ARKANSAS, LLC

       Comes Defendant, Dirt Cheap Arkansas, LLC, by and through its attorney, Barber Law

Firm PLLC, and for its Answer, states:

       1.      Defendant admits that Plaintiff is a citizen and resident of Arkansas.

       2.      Defendant admits that it is a Delaware corporation with its principal place of

business in Mississippi.

       3.      Defendant does not have sufficient information to admit or deny the allegations

contained in paragraph 3 of the Complaint and therefore denies same.

       4.      Defendant admits that on November 9, 2017 Plaintiff was at Defendant’s store

located in Jacksonville, Arkansas. Defendant denies any other allegations contained in

paragraph 4 of the Complaint.

       5.      Defendant denies that an employee of the Defendant was moving merchandise at

the time of the accident. Defendant’s employee had moved the pallet jack past Ms. Blohm before

the accident occurred as a result of Ms. Blohm stepping backwards onto a pallet and falling.

       6.      Defendant denies the allegations contained in paragraph 6 of the Complaint.

       7.      Defendant denies the allegations contained in paragraph 7 of the Complaint.

       8.      Defendant denies the allegations contained in paragraph 8 of the Complaint.




                                                 1
                Case 4:18-cv-00351-JM Document 11 Filed 09/06/18 Page 2 of 3



           9.      Defendant acknowledges that Plaintiff demands a trial by jury and Defendant

joins in that request.

           10.     Defendant denies the allegations contained in the “Wherefore” section of the

Complaint.

           11.     Defendant denies any and all allegations contained in the Complaint which are

not specifically admitted herein.

           12.     Pleading affirmatively, Plaintiff’s claims are barred, in whole, or in part because of

the fault of individuals or entities other than Defendant and over whom Defendant had no

control and to whom Defendant owed no duty, specifically including Otis Elevator Company.

           13.     Defendant reserves the right to assert any affirmative defenses and/or claims that

may come to light during the course of discovery.

           14.     Upon information and belief, Defendant states that Plaintiff’s claims may be

barred in whole or in part by contributory negligence, comparative negligence, and/or assumption

of risk.

           15.     Defendant hereby asserts its right of contribution and/or apportionment of fault in

this case as to other non-parties and Plaintiff.

           16.     Upon information and belief, Defendant states that Plaintiff’s claims may be

barred in whole or in part by estoppel, comparative fault, and/or acquiescence.

           17.     Defendant incorporates by reference the Motion to Dismiss Entry of Default by

the Clerk filed on August 7, 2018 and Defendant’s Brief in Support of Motion to Set Aside Entry

of Default as if incorporated herein by reference pursuant to Federal Rules of Civil Procedure

Rule 10(c).




                                                      2
          Case 4:18-cv-00351-JM Document 11 Filed 09/06/18 Page 3 of 3



       Wherefore, Defendant, Dirt Cheap Arkansas, LLC, prays that the Complaint be

dismissed, for its costs herein expended, attorney's fees and all other just and proper relief to

which it may be entitled.

                                      Respectfully submitted,

                                        /s/ R. Kenny McCulloch
                                      R. Kenny McCulloch
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 6, 2018, I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, which shall send notification of such filing to the
following:

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                                        /s/ R. Kenny McCulloch
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